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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA :
-against~ ; No. 18 Cr. 146 (JFK)
VERNON WALKER, ORDER
Defendant. :
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JOHN F. KEENAN, United States District Judge:

The Government is directed to file its response to
Defendant Vernon Walker’s pro se motion for compassionate
release (filed under seal) by no later than January 26, 2021.
The Government is further directed to mail a copy of its
response to Walker at that time. Walker shall have 30 days from
the date on which he is served with the Government’s opposition
to file a response. Absent further order, the motion will be
considered fully submitted as of that date.

The Clerk of Court is respectfully directed to
electronically notify the Criminal Division of the U.S.
Attorney’s Office for the Southern District of New York that
this Order has been issued. The Court will mail a copy of this

Order to Walker today.

 

SO ORDERED.
Dated: New York, New York thew oe era’
January 12, 2021 John F. Keenan

United States District Judge

 
